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 6

 7                               UNITED STATES DISTRICT COURT

 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                      )   Case No.: 2:12-cr-00238-MCE
10   United States of America,                        )
                                                      )
11                  Plaintiff,                        )   ORDER TO CONTINUE
                                                      )   STATUS CONFERENCE
12          vs.                                       )
                                                      )
13   Nicholas Perry and Eric Johnston,                )
                                                          DATE: December 7, 2012
                                                      )
14                  Defendants                        )   TIME: 10:00 a.m.
                                                      )   JUDGE: Hon. Morrison E. England, Jr.
15                                                    )
                                                      )
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17
                                                  ORDER
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19          Based on the stipulation of the parties and good cause appearing therefrom, the Court
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     hereby finds that the failure to grant a continuance of the date now set for a Status Conference in
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     this case would deny respective counsel for all parties reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence. The Court specifically finds that
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     the ends of justice served by the granting of such a continuance outweigh the interests of the
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     public and the defendants in a speedy trial and that the time within which the trial of this matter
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     must be commenced under the Speedy Trial Act is excluded during the time period from and
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     including December 7, 2012, through and including January 24, 2013, pursuant to 18
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 3
     U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.

 4                          Based on these findings and pursuant to the stipulation of the parties, the Court hereby

 5   adopts the stipulation of the parties in its entirety as its order. The status conference in this

 6   matter is hereby continued to January 24, 2013, at 9 a.m.
 7
                            IT IS SO ORDERED.
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 9   Dated: December 6, 2012
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                                                              __________________________________
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                                                              MORRISON C. ENGLAND, JR
                                                              UNITED STATES DISTRICT JUDGE
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     DEAC_Signatu re-END:




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